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                                 UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

RACHEL RUIZ,                                                  §
                                                              §
           Plaintiff,                                         §
                                                              §
v.                                                            §   CIVIL ACTION NO. ___________
                                                              §
XPO LOGISTICS, INC., XPO                                      §
LOGISTICS LTL, INC., XPO                                      §
ENTERPRISE SERVICES, LLC,                                     §
and XPO LOGISTICS FREIGHT, INC.,                              §
                                                              §
           Defendants.                                        §

                                  DEFENDANTS’ NOTICE OF REMOVAL

           Defendants XPO Logistics, Inc., XPO Enterprise Services, LLC, and XPO Logistics

Freight, Inc. (“Defendants”)1, by and through the undersigned counsel, file their Notice of

Removal of this action from the County Court at Law No. 1 of Dallas County, Texas to the United

States District Court for the Northern District of Texas, Dallas Division, the District and Division

encompassing the state court in which this action is pending. This Notice of Removal is filed

pursuant to 28 U.S.C. §§ 1331, 1441 and 1446. In support thereof, Defendants respectfully show

this Court as follows:

           A.       State Court Litigation

           1.       XPO Logistics, Inc., XPO Logistics LTL, Inc., XPO Enterprise Services, LLC, and

XPO Logistics Freight, Inc. are the named Defendants in the case styled Rachel Ruiz v. XPO

Logistics, Inc., XPO Logistics LTL, Inc., XPO Enterprise Services, LLC, and XPO Logistics

Freight, Inc., Cause No. CC-20-04441-A, which is currently pending in the County Court at Law

No. 1 of Dallas County, Texas (“State Court Litigation”).


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    Plaintiff named XPO Logistics LTL, Inc. as a Defendant. No such entity exists.


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       B.      Procedural Requirements

       2.      This action is properly removed to this Court, as the State Court Litigation is

pending within this district and division pursuant to 42 U.S.C. §1446(a). See 28 U.S.C. §124(a)(1).

       3.      Pursuant to 28 U.S.C. §1446(a), this Notice of Removal is accompanied by copies

of the following Index of materials filed or served in the State Court Litigation:

               Exhibit A       State Court Docket Sheet

               Exhibit B       Plaintiff’s Original Petition

               Exhibit C       Citation issued to XPO Logistics, Inc.

               Exhibit D       Citation issued to XPO Enterprise Services, LLC

               Exhibit E       Citation issued to XPO Logistics Freight, Inc.

               Exhibit F       Citation issued to XPO Logistics LTL, Inc.

               Exhibit G       Affidavit of Service for XPO Logistics Freight, Inc.

               Exhibit H       Affidavit of Service for XPO Enterprise Services, LLC

               Exhibit I       Defendants’ Answer

       C.      Timeliness of Removal

       4.      On October 9, 2020, Plaintiff Rachel Ruiz (“Plaintiff”) filed an Original Petition in

the State Court Litigation (the “Complaint”).

       5.      This removal is timely as it is filed within thirty (30) days after Defendants XPO

Enterprise Services, LLC and XPO Logistics Freight, Inc. were served with the Complaint on

October 16, 2020. 28 U.S.C. §1446(b)(1). The named Defendant XPO Logistics LTL, Inc. does

not exist. The named Defendant XPO Logistics, Inc. has not yet been served, but that Defendant

is represented by the undersigned counsel and consents to this removal.

       D.      Grounds for Removal – Federal Question




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       6.      This Court has original, federal question jurisdiction over this action under 28

U.S.C. § 1331 and it is an action which may be removed to this Court by Defendants pursuant to

28 U.S.C. § 1441(a). This action involves claims that arise under the laws of the United States.

Specifically, Plaintiff claims that Defendants violated the Family and Medical Leave Act (29

U.S.C. § 2614) with regard to her employment. See Plaintiff’s Complaint, Section VIII (A).

       7.      This Court also has jurisdiction over Plaintiff’s state law claims under Chapter 21

of the Texas Labor Code. See Plaintiff’s Complaint, Section VIII (B) (C) and (D). As alleged in

the Complaint, those claims arise from Plaintiff’s employment and terms of Plaintiff’s

employment. Accordingly, this Court has jurisdiction over the state law claims which have been

joined with those claims arising under its federal question jurisdiction pursuant to 28 U.S.C.

§ 1441(c), and supplemental jurisdiction over those claims pursuant to 28 U.S.C. 1367, because

they are so related to claims in the action within the Court’s original jurisdiction that they form

part of the same case or controversy under Article III of the United States Constitution.

       E.      Grounds for Removal – Diversity

       8.      This Court has also original jurisdiction over this case under 28 U.S.C. §1332

because this is a civil action between citizens of different states where the matter in controversy

exceeds $75,000, exclusive of interest and costs. Therefore, this action is one that may be removed

to this Court pursuant to the provisions of 28 U.S.C. §1441(b).

            a. The amount in controversy exceeds the federal minimum jurisdictional
               requirements.

       9.      Plaintiff asserts claims arising from her employment. As stated in her Prayer in the

Complaint, Plaintiff seeks to recover back pay, front pay, compensatory damages, and punitive

damages. Plaintiff seeks monetary relief of more than $1,000,000.00. See Plaintiff’s Complaint




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¶8. Accordingly, the amount in controversy in this matter clearly meets and exceeds the federal

jurisdiction minimum of $75,000.

             b. Complete diversity exists.

       10.      As alleged in paragraph 2 of the Complaint, Plaintiff was at the time of filing this

action and, on information and belief, still is an individual who resides in the State of Texas.

Accordingly, for diversity purposes, Plaintiff is a citizen of the State of Texas.

       11.      As alleged in paragraph 3 of the Complaint, Defendant XPO Logistics, Inc. was

incorporated in Delaware and its principal place of business is in Greenwich, Connecticut. This

Defendant was at the time of filing this action, and still is, a citizen of the States of Delaware and

Connecticut, as it was incorporated in the State of Delaware, and its principal office and place of

business is located in Connecticut.

       12.      As alleged in paragraph 5 of the Complaint, Defendant XPO Enterprise Services,

LLC was incorporated in Delaware and its principal place of business is in Portland, Oregon. XPO

CNW, Inc. is the sole member of XPO Enterprise Services, LLC.                 XPO CNW, Inc. was

incorporated in Delaware and its principal place of business is in Portland, Oregon. At the time of

filing this action and at the time of this removal, XPO Enterprise Services, LLC and its sole

member were citizens of the States of Delaware and Oregon.

       13.      As alleged in paragraph 6 of the Complaint, Defendant XPO Logistics Freight, Inc.

was incorporated in Delaware. Its principal place of business is in Ann Arbor, Michigan. This

Defendant was at the time of filing this action, and still is, a citizen of the States of Delaware and

Michigan, as it was incorporated in the State of Delaware, and its principal office and place of

business is located in Michigan.




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         14.      Plaintiff has also named XPO Logistics LTL, Inc. as a Defendant. That entity does

not exist, and this alleged Defendant may be disregarded for purposes of this diversity removal.2

         F.    Notice to Parties and State Court

         15.      Upon filing of this Notice with the Federal District Court, Defendants will give

notice of this filing to Plaintiff, and will also file a copy of this Notice with the Clerk of the County

Court at Law No. 1 of Dallas County, Texas, where the action is currently pending.

         For these reasons, Defendants respectfully request that the above-entitled action be

removed to this Court.

                                                      Respectfully submitted,

                                                      By: /s/ William L. Davis
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                                                            ATTORNEYS FOR DEFENDANT




2
 To the extent this entity was to be considered, complete diversity still exists based on the Plaintiff’s allegations.
Plaintiff alleges in paragraph 4 of the Complaint that XPO Logistics LTL, Inc. was incorporated in Delaware with a
principal place of business in Connecticut. Based on these allegations, this Defendant would be a citizen of Delaware
and Connecticut.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of November, 2020, I electronically filed the foregoing

document with the Clerk of the Court for the Northern District of Texas, using the CM/ECF system

which will send notification of such filing to all counsel of record:


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                                              /s/ William L. Davis
                                              William L. Davis


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